@

Case 5:18-CV-03053-SAC Dooument 1 Filed 03/05/18 Page 1 of 30

CL@`\

W»§\§iii \i\)\\t\a_iw§

Nam€

M¢a®@aie/CMMG§§JML

Wt® \\l~ ‘Wil e+ v
…\is§ax Qi\:i\\) las Cd@m\

Add_ress

FULE@

2018

tgct Cour¢
Depuiy Clerk

 
  

By:

 

v UNITED STATES DISTRICT COURT

` FOR THE DISTRICT OF KANSAS l K”BO§ 343 H@_)

:?\Q¢WQ\'MF&'YV\A, Plantiff

 

 

C.ASE No. \WQQ\.\\ §§

 

 

 

 

_(Full Name) (To be supplied by the Cle-rk)
""W é’<hA\-Q a§V~ \¢W\)S&S, De.fendam (s) CIVIL tuGHrs coMPLA]NT
PURSUANT TO 42 U.S.C.
ignime Lo\ti\!'%i\ QPQ»KW) apt §1983
U
A. JURISDICTION
§:@!;>»\m\ RQ_ \i\ il MA-\/WK , is a citizen Of \[wt§d\l\\él§

 

Wlaintl_`l?)

 

(State)

who presently resides at \IA\l §§\\l\ci;c)‘\'l@ C ®\k}\§!@[k ilth ;]\© Ni M
et mead CYSMWKLJQ\A\ t *'

of confinement )

\)\i\)ta»\v§o°vt§ §`w\'“¢»l iii `We\/)M

2) Defendant .TV\/:Q :3\')@(‘(',@ H'NPSK, is a citizen o

U\/'ame of first d jéndant)

U{\©OF°T)B l\/i&`O(;{\/\Y§W\i MM§ Q#(\\JCR\ l\@ and is employed as

(Ciiy, State)

C,)
DQ»G\ rko Ult\i wll/°t!\\?:h&§l”b€/ hisp\§§é\§%ilw%>d\§ Affhe time tim%the QJ+

d)osition and title, ifan))

claim(s) alleged in this complaint arose, Was this defendant acting under the color of state
law? Yes |M) |:| If your answer is‘ ‘Yes’ ,briefly explain:

H€; \€> U\M;{o ia€[¥\_\,®@\) +\/\i,@ Ci©>l@ .fZ/\l i/ww\tt“
thwain \¢`v A 60 QQi\W\/\MH tar/0 _QN`Q\ \

\.

L, tx

XE-Z 8/82 CIVIL RIGHTS COl\[PLAINT §1983

 

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 2 of 30

 

3) Defendant Qtie\c@ CJ)\MMQ__A ¥~iq{\ilfi%§<;>@ is a citizen of
(Name of second d endant)
MW \‘M l t §@§3 . , and is employed as

 

 

  

` "i€i:QV/QQS\ ),Iii;“dt. At the time the
/

claim (s) alleged in this complaint arose was this defendant actir%g under the color of state

law? Yes No l:| . If your answer is “Yes”, briefly explain:

inc §§ a Se\e\e§e,

 

 

 

 

 

 

 

(Use the back of this page to ftnnish the.above information for additional defendants.)

4) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3); 42 U S. C. §1983. (If you wish to

assert jurisdiction under different or additional statutes, you may list them below.)

&h£i“t\v \l§ \i\\c,i\“€it@€/% c:l\[' <\s \/'~t(it\\ VC§®` "‘W\§icl
P@A\ \%%l( (,\‘C(§§\'”@a)\\@_»\\ ci Cr:)t\\ri)¢stet\a chin

B. NATURE OF THE CASE

 

 

\\ i§ :\i/m@i,

l) Briefly state the background of your case:

ViMJ> ?*:i§ @?LQ;\ \"`;:‘v@i/_ 0@'£\§<1-° mi_\§$o£> tile C\th\oe §§
cite middle §§ cha\£ilél<\ <W»;;Me\ X§Qs Jc\§c~e/ A\Hit \<is€@\
i::elee. e\\?<;\ team aec chew/is tex o(w>¢@§ee §a\et)\
`\w\»<W/ea`\\@m m cement a wee/neese br \e…')
eQ/LcMY° “e`<se\§\ c o/¢%~l:’»€{di`el c¥;gil\<r§t\/\i<a£tx@eeQ/Ii@%
QL ii\§ej¢;iea ii hhc;e% ci\»\_@£ai<lpe<ln ci-QQMADA)
gliO i&l;'€& ;`E_\l\ci\ps\i`@e psi `Li© Csi~ Mb¢`\ §&\ iQQi/`i§i&

\ §\( m x
QW ita :U;e ;:”i?ii">§;::§ :Eae*/€“::i. ii

\sic villa ct re($@/d C fees /de\;\~‘ 3, ,
XE-z 8/82 § G”Ci‘>p cirer RIGHTS Coivi§r:Amr §1983£9 Di© i'wi i

 

 

 

 

 

 

`11/<1¢¢€»<;; -€

t>.’.

 

 

 

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 3 of 30

C. CAUSE OF ACTION
l) l allege that the following of my constitutional rights, privileges or immunities have been
violated and that the following facts form the basis for my allegations: (If necessary you
may attach up to two additional pages (Sh” x ll”) to explain any allegation or to list

additional supporting facts.)
A) (1)€01111-_;N\3l-<\”" >l1 @1\`\ 301 131 §§ 1 / C\Qi./

@§§o<l\hec w lelas&a~,ele \l 11le alto possith \1~111
tlwlle lALl@lQ1133 11\§\ \¢1> 11\,\»<111<?.1l ~ @M§§l;l®”\%

§l/M`WNM’ ‘{\MS cleava »Wj,al\)»®\@/WM@ 1111

(2) Supporting F acts (Include all facts you consider nnpoltant, including names of

e\

persons involved, places and dates. Describe exactly how each defendant is involved

State the facts clearly in your own words without citing legal authority or argument.):

§§sz <QMJT¥C>M< W\0 _ C\£\l<§<;§)d '?Qt\l\\“® “Tl\/\/\O
\§1 Y1BFY Q111”?J+%13 1333 <lai\\© 1 Ylllo@¢al%@l_t\ des
A@l’&<\l\<s little math ld> leele;)7 1/\1\1@@1®\1011>/\}9

\

\51\\`/l ` 753 A_@\f\'\\\) Or\M <ll*l' cal 91</1\¥€\35¢€\ \t\§"l“QJ/\;Fl'

l ltv Oall lp &(UD<VCM /l/lel()/?J‘AW\)\
B) (l) Ountll l\:>§\pi)\-lol\l§)“/ 311 f/ll><j/:J’\/\li§ri~l@>a\)`l \ll o\ll-lal…
§§ eL;\¢,wM\l/t/).Qi®t'<sl welsh 11:1…\7\13\1!11©

llm\llt\lwt@ i\\`*l*’.

(2)SupportmgFacts::l\1;o fe tlée@©¢{?@lu 341ng 131/jdl Q§Orr\\

1§::1“‘1' l>t> §QJ>\`H'@N£@:\ 4311\\13»3/> 1111 l<lp§<>l\i z CDQHH` U@
1;€191<’-> Q\QM~PQM:»Q:(\ ‘®\ ’l@ webe€§> ‘l~`t=l- tl'l&: hl/Wl 1191 ltl\%"

i!lllpcw¢/‘ Qc>t§\\'\“€°<li`ot\l ll€ l!lll£> QQ\Q MQM/t +l~t§<§' U¥c\l
~m@e_a_ weis hole ®@§“11\:£§3% eis lead 1111 1231 3331&
\§MQND §§M£ m M\easeet§c 13 01%3\,3@1113§

XE-z 8/82 U*\W>“ W“lcivrt RiGHTs CoMi>LAiNr §1983

 

Case 5:18-cV-03053-SAC Document 1 Filed 03/05/18 Page 4 of 30

C)(l)C<)umIH: \Y\o "*<{znstc)»\§e(&iv\u\§€/>@\ §l+ `\APMS§MM
@4\1\44?45“§> ii~/\Q/ 444 44_4;4:@ 44@4 @(44444)\ 344444‘4@
\)<`> \'\i@r@p\@¢\`)`i} p»::><;\],\ §l)'o£; QU\ \/»F¥\l\\ zd`§<> C{)C)QKHX\Q
(2) Supporfing Facts T\/\Q,n ;\,QJE<)M\,\§MM~$\) 434: \i'\\>:\ tiAs\/\i%§i\:\ \:\l\i*:l&/
G§ 943 HCQ\%€/i)i 445 44 §<1%@ U%%€ i§ 64 VL(%M 4§¢@313®§)

4394@4_444 g :&4@4444\4444 494 44\1\4\\4%4§@€ lamm 4\…44 iV)Q

HH%\:QS im Y\lw 04’-4<4$§§ (` 1444/444 te QQ\R¥QM@MQWA¢U§;

444 44‘ k w4444\ 444 4/\44‘444\4;… WM@Q“L;§
D P oUs LAwsUrrs AND ADMJNISTRA RELIEF

 

l) Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this actio r otherwise relating to the conditions of your imprisonment?
Yes i:| No ®é::ur answer if “Yes”, describe each lawsuit. (If there is more than
one lawsuit, describe the additional lawsuits on another piece of paper, using the same
outline.)

a) Parties to previous lawsuit
Plaintiffs: \\i\/AY
Defendants: \ //hlgV

b) Narne of court and docket number v M\Mv

 

 

 

c) Disposition (for example: Was the case dismissed? Was it appealed? Is it still

pending?) ii\i /AE

 

 

 

 

 

 

d) Issues raised \i/?)Af

 

 

 

 

XE-Z 8/82 CIVIL RIGHTS COMPLAINT §1983

 

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 5 of 30

 

e) Approximate date of filing lawsuit r\l /`A’
f) Approximate date of disposition |\i Ml<

 

l) I have previously sought informal or formal relief nom the appropriate administrative
officials regarding the acts complained of in Part C Yes I:| No [:l. If your answer is
“Yes”a briefly describe how relief Was sought and the results. If you answer is “No”,

briefly explain why administrative relief Was not sought

se

 

 

 

2) REQUEST FoR RELIEF

l) l believe that l am entitled to the following relief:
alma annie shakedown <\:X; en .\ea.©
§N;Qj§eeb dwell/aro §S\Q_, E;W, §§ H”§@-/Aannim@a~
§\‘?%t\/\i%§ \)\) ifr\/\» ®Gles.§'\i<§§ea> o \;)\i C;N&~*<S‘W‘e>oé\l\)
§U\\\MM \ 0 O

wian MMQL rvt:nw\§/t\y@t~re@e ha QMNWQ\

      

':_§.)
Signature of Petitioner

 

Signamre of Attorney (if any)

 

 

 

(Attorney’s full address and telephone number)

XE-Z 8/82 CIV]L RIGHTS COMPLAlNT §1983

 

Case 5:18-CV-03053jSAC Document 1 Filed 03/05/18 Page 6 of 30

 

 

 

Tn“:we,_§upeen_€nn+_n_\éan_e:

_nnn_nnn ___ _ ____ ___ _ ____ __ _____ ___

 

§ @QMM/@M unnm?nen______n-_

 

 

 

 

w 7 \\n@_\n~_<_>l:r ¥laloeae new/nan \”; <`)bn:atn Dneunnnn_________

 

 

i____n gale Delnernt_\§e_;funanueeen unn§n_ene{neaa@n

 

 

____Q/leinn€annum_ nneun$z>auen;l; glenn
nuwen_eaa\:eennnnnnaku

§ 5 l
C All;

   

 

0

 

__ Cun_ng_u,_n nunn nnn_nunnnnnnn

 

 

\}ee>_ nnn@n>§n~\; benjan +l)\“& \/\e,l/)QH=SQQ %O®n§nn@_eeenn;i;in

 

lee +\/\p (n \/H-e nn ne,…eneaaennnm__*

e\ne\la_ ann nina-ann nguyenan en+MQ\n mean ne

 

nannun. nude waymn+(nnwl nn . Onaben endth

 

S\nl__lne (\\m\`% neel-klan eng Wuv\‘nlnes‘d=\wnnlna S~berw'be@n mem

 

 

\) mnni;_(ne:n@_ _nnn®nnl¢n§…n
P\<EDEM..S "cn/\Q~ ()`_Q;GS,\(\ §§ @ql’\'l?> {\NQ»q dep 9(l csi'QL\JbQ<l\ l©n

 

nnenlnn+~ then nan unl. ~eu ‘

 

 

 

 

le “l/Jmn~»lull ila vl\l `m‘"e meagele l/\A§> lozano/an ur\.`)luM_
p'?@g&>r\l& all &GfVl/@u Q(l".'l’ C>N\i$%`t`GM 603 Q>nQnH; _

2f1 Cl’€:tj-EFOMQQ.\ l/z¢l< lrfe;;ma., Qn\Pc-.ltzlp.n faa l/\le ellSQl/c/¢l£o.e

 

leeuwen el\_ H-‘e mem glenn

 

 

 

 

 

 

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 7 of 30

 

 

 

lnnn lynn en C\@nul\ <;ly D¥%m¥x§e\ nee nbe§eu}<§\>eunn__

 

 

 

 

 

unannnnnnn_ennnn:nnnnu__

nY(\IQMPN/Ln Q)Q\ Wnenn @(>\r@Q/nu\(`n@§n '\n/\»Q {\AA%Q_QS> <z»(l')

 

7 C_ln?nl<»_)ly_ ¢@e,+\,~e£ en[\ le\§e ¥nny@QJ.\/\Pn§ene&_ nemmutlrl__ _

 

 

®e@ne,»?nl§n@ -\n/\QQ»Q+@_ ea MV \/\@{)\<»\¢\\(`A§§£_(A z_@_\:ne_Wn/_\n____
M\FA AQ,&_@§Q@ A_€\Tn %(')Qll )l\\-»FQelnM SH*rl'/@.& ~tli/\O §@ll\r)\r\‘\\\\k\&

 

"’ Bne@e+_ n_ly»nm el»<n\re `nénene\c \)n\/ulr\ne_e Bl\be@

 

__ @Qn§§_\l §§B,,_L_ +n§@nn:‘nno_;me<@ w_/\_ni_§_(i,h®_;ny_n&;]

 

 

_ (YIQAMS l)¢)a\yn YN \JS'S ()')€Qn\£n(?\ Q_O_n[/l&@ <¥~ D¢n¢\Ale\§.“E(/`Mm\§ _\L\____

 

 

 

Menen@_e__ unnnntnu& aanen';eln_ _§§»Mn in!;n ()aer€D_-t'§ew.u
ne \\nn¥®n\\en_ @n\e)\m-\ ¥UL § __
ne gee Q_Ennune ann dunn _

 

 

~;{) nunn Ap&»n®&, OK unmen;@eA nn\jb_€_h)_l§n_(l¢€énol€_ugn; AQML_\__

 

el\§cn.£)w\¥\’n`/\on+ ‘\nf\€n *C[):\le£n -A'\Q~Sgn€£\¢n `€SB\LQ f\/\e<.\ \0@
M&n knee +emn,\(n \(n<v\nean

 

ex _nn eng nn n ;nn n due

 

¥ne)é`n¢®en ~n/»eu neg%@u seen @(L §n nw QQN\GWn+ runnva

 

y
\_A-l§_em` <>P\ \\\Yenl€e\{\{\é\n+ OA/\QP\ +n/\M “hn/\Pclc/ \Jr wl § -\rQ &\ann\v

 

\nn\n?n§an in n\eone;- ne n own e nunn nn lee

 

\}_MBQ_A C>l\\lu \nu (\/\CS`VYG!\§ l€%¥o@\,€ `W~\I\Ql_¢"@»z Me'\‘§\e\§ SAA© \M*'

 

omn@ eeo anne nn@neneun anngennlenenilen

 

’ef> &AMUWM@H§L w eeeq>n+ en n

 

 

mann new non n;e@nan nuneelnnee@unnnnun:@en
\.H,-p§> (-\ \/\¥eNeQ\ J<n/\erlnl,© \@\\+ n/\¢Qn CCL\O.%; §<)0\ QMV&Qn alr)e\rn_vn

 

 

un name nngn_ §lnmu»&e_nnanneenunen eneeee_e_n___

 

 

ee@ 543/nunn me nnnnennnnnnuae nee ununa._

nQn+ en new a nuan nn lee neeee:\M len nnq;ne+

 

 

 

 

 

aec en§ eve/wu On ulsn§ nn j §>@nn_ene?§rnne_§)jgnenl\n§§§_

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 8 of 30

 

43 \TQ <\/\<>+`J ;:>_s\\. @A;M&;S/QLMAA;\Q&M# _ giving

 

0@¥@@\ w AWMQ\\NQ»&\- QMMMI QQI 9§1£,@\_3;§/;@__ QB;L§__`

 

 

 

@_m@e-l€; :QQM£WL _§g@¥§§\x%:: § M:,P§:::w MA: §::
@M\MM@\ \Q\ w Qmm_ mm AA@\L RAM W,h

 

 

 

 

`©e@__,<~_l§aw§e%eé ha M@RMMM
;€A \Mz@)\\

 

 

dba £\\Q{-\ § QA§\;%M @@\, ~A QDWLQM‘\- “‘VO `\:Q\\`S¢L,\,L§D 1\\ /-L Q@M.PL »§:M\Hr

 

 

m§@m\r>r\»§@\\\@ O,M \§\\§th@&& be&:@eh`, mma‘&w?c@ \Q wM\)@_g
cyr é¢£e;\\;ez £LQ; Mo\\g§§-

 

` £A.Q, £Q\QSQ,QMHQ®_Q x OQY$£§\§SV§Y\M-:§R€LLOF\A€M

 

\M§-c(L/V\H\'BGM cp\ §'\\\:\SQM£N‘.\'__Q§) €F; M §§ S:‘M§ "7§\. § _o\/;li

OMYAYQMQ& m »<MQ£ cp\ke`+ @@\ +@ lep@e ix %m@ _m_ 4

 

MQ\»<\/\QL\L+€\ AM\ ;AM )

 

 

 

 

\_\A@ WM¥LL§MQDM i.€)§~QcAA§\\§Q¢\)::A:#£j-L:
\Q\A:f>jIMA/\L MQ U
\Q \m>& \R\@@@\S§@::MM§@A § \z\¥:> §§Wlm m wv§@@@ §§ m

 

@LL(LQ¢MQ@C\ \/\i<<l \@Q »§1\@_<§3 AN<§ \\\JR¢L=/v\m\\¥~®)\¥\- :\:@ n ~_

 

 

 

OJ<§Q\\\ r§r»§¢\e k\m@@l\ W,g \UMAQ (\\4€ .§,\QQLDSQ__QM§J@
\O\\ mng __MQMMAQ,Q N\/\l&\l gigng \:\1;
Q,@Mé£\ MM@MWMM “~\ mm€\nz> KMQA @Yv@p

 

 

 

 

M:£,_Q\\&§_AM§§\M HQ§Q$TQNA® §1\» \\1§€2`,\\0§¢ C€:Q\f§§)
\@s\§§ § J§¢\Q)C§“M§;\;AL ;QA§W? QM\Q¥N m J§/\Q M\(%@?<\¢ Q\~

 

 

 

'@ck§c>+\/)Qv»\ CA%P M ®§£\{\ML\YAQGM §§- (\@Q_§Ab Q_\\/\{W©QA v\\\‘&\/L `__
(‘ L§ML\AQ,\/W¢\ 1\0\- \/>@QN MQQQOA€;; O\\Eo\n§% +-Q) \,s\<&/\V\_/\Q \>;7~€&

 

ec\‘d;;).-\e§s to MQ_O\ J§v\<> .\PNA \\Q. wis A(PVQ\\MW\ QQMM> 1 <=§r

 

QAM@BHMM. 6 _

 

 

 

 

 

 

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 9 of 30

 

 

 

_§flue§§§\rc§§\€r ‘;>3~§§§¢£§§§ §CL§§Q,L§§ ¢A

 

 

 

§§§§§§ §§§§§§§§§§§§ §§.;X§ §§§ §§§@§Y§§
-'c\/\i@§§§c\:k§.@)§ AEIEMQ!§ \/\AA \OQQN§A@ N§§N\A§§f<.§

 

§X§§§§§_§§§§ \§A»§§ §§§ec\§ '_:/§ _:@§C§@A§§§ §§Q§ §e§%&l\@ki€§,

 

§ NQ§§)Q§ §\1§;\:§§ u_§§ I§\r§§§~§£§§
§§ Q§QS§§ §§§ q QQ,§@ G§Qz>w®g§§§§

0§&2£@§1§@ §\F§-¥§ §+§@ Q§§)LLJ<§Q§§ ”<\Mé;b§ o§§:§£, ;\éc°c:ec§:>
§§§S\§ §§§§ §§§ §§ §§§Q.§§§§

§§ §§ §§§ §Q§§§ &QQ§§§§§ §\§§§§§A§ -§

 

 

 

3§§§§§§§§ §§ §\§:§§ § §@§\§§§§ §” § §

 

 

%§… W§;§§§§Q> §§§§Q§§§Qz§§§ e§§§§§§ §

 

§ §§ §§A&§.l;§\(\i§)@§)§_l§ _H§£§ 3 q § (Q Q \kié\‘&h\\§ hich
_ §§ §§§§fk§§§ §:§l§ §§§L§@§ §§ fkm<» umw@§

 

 

 

 

 

 

 

, w §§ wmle 00 / WNi»/, w§u§wekx+zz AM§ §§ §§ §MQQ

 

 

l 0 /
FHQ:/-H-$\§k}§/Z 1@£,0\/¢> c !/IMQ€

 

§§ MM_MQM; \ "'§§Q§é§£¢o§$;

 

 

wo§Q/\) §§m§§r@§§§ §§ng //~)Jm@§ iYB*Q@/o\)f@ev@ks
Q&%<>§mq add ik§§fwkx§é#@§§ §§ v»@tw§ §§ E>*Y’§WAA

 

§§ T§L§M§M §§ §i§i;

 

hQ§/A)H& Vénu\§l o\}Q@w[\c? UZML/b¢ /-1 xu§lme iki%© [MMM€ §

 

/r\H'Q¢\\>!-§§v\? F)qu/\i>§+- O€+H/\Q/\M H/_&;§//).OQ~§/t:§i€& LHD )rk)§Qi\i

 

§§§§§§Méfr pda§.{_._‘?>/~W§ /§w§l 25 §§MQ§A wm C®J@§

 

emc/2 mi /%#q/‘/&®f?§ Q§;ikia haw/ul §§ °§o%i§ qF//m/HL-

 

f /-vack} op ‘7(7§<§1/41!& §H@VW Q/;) éa§#d( ah /-1 anfb”ki\k'/€W&Q

 

§§ §§QUMM§§§/M§M§ A»A+ § %§H §)r-AAM 70 Cl§¢§>z

 

 

 

 

 

§§ §§ M§/SMM§ §M…U”‘ §§p§§§@§)e§ §§ §L§§<lj {,<£Fz;l@(§

414 444

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 10 of 30

 

l/I*WON 5;%©1\111\1@ 1@£€1)114{ 1061 »/;4@4&[€£14> 1111__1111111
014441\414141 aj 14 441b __

1441\1444441@§4411

 
 

 

   

444 f 211 444 4141 444

 

m 1 1441-111 4111>411141 1)4411414 14144141141444
1411 44441444¢4444444 441 1144 414 1111 1414 441

 

 

1410/10 4144111 141 1/)@§£:#,4:4 4411/14 FV@L____W

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

.1 11 _` 114 3044§11@1;§4# 1444-1114414
111 1 11111%:1§1@‘°°:~' 44 4\14_4111441_% 414/1411 1544451¢0 ,
1 1441 444{)&1@££ jf;:;;j£[g¢j 1414011\1<244/0&1412€1
1 _ /’A/MIZ#H` /\1+ 114)/1 §hauj§£m&@44 111111, _1_111_11__1
Q,) 1114 4401144410%£?:‘“'/" ¢45;444414@
1'!'0&€1/\15‘1@$!_, Q'?G/G, 4Wé)él/\)O/ CQQ\ (7 //\P M@AH~/}/l<<
‘{!\LL ifc/;[}£?Z,11 /_"41 k/l`c:>[)‘)*é/\[)/\) 40 {!U`<§> OLIMM
14 (_7) _<;1:@414@4 113 4411/014@@ 4/14<1+@11_14{ JMA+
14 4411414/\14 1464 444 1551/11 044& 74£4114101£4 1

 

F>@Q}SMA#<)M 44me -Dd ~JLQ_, Md/\H% 011 ,//1411,'“ ;/1411\10 /~1-/\14

 

 

LTL{) 44 §C)[O, 111 MLHJ1 ZL)i\/`/l€/ who log m%:hzi£jj\:dd}€¢
JLJ/J AB f/\/jé€c/£€Q%'/\Of\] a-L //(jdAv\!>lo)H¢f/PU ,U\Hm dMJ

 

 

141 !11 1 4b @Ojl MBQ:®@Q;; 344 -1:@ 4)411§7 /VQQH~
7€41 5 //M§ ,O:Z/Zlf H‘)L/'G//.’A/‘@u /'/\f NLN~A/ m/%¢M/;@A£§

 

01/4’11€4 ha 1%1/144 (?AM MLS@@ 1444 jew/4 /)4@,1'</47!16 u/\/<BQQL

 

1461 /p+£-{-f(m/QZ rMo{fc-+_HM /1-1§2‘€//` é//W, S:UL/\kj D€»+P+fc)n /\QQ

 

414114)11141,1411 41 4414114 44 41- 0141141414@ 4 1414l

 

VO€‘HHO/\/\QL /\/\/»Gj/`QQMM 01\1 1014£5€1 C,éb/$véaé§§

 

;1\1/1<11444 444111141 414 1444 44 1144/1444

 

 

1\13041€4( tail M£) d%tPH>m/\QL 141`1`1£1[1 bo 144 41@_
41 441 4441-1@1\1 41 444114444 4£/1::;4411 1

 

 

 

 

65

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 11 of 30

 

 

 

_ 11 111111511111111_
_ :-3@2_331 M¢)(L,"_’ /A@_ 343§1;@;/11@41 1115 _'§@____14_ _____

 

_/330_33@1\1_1 111 1 113 1131 11143414_ __
___51131@3_3_ CWM 1415 1131 131113133@

  

_1_ .3:1 341:311¢\)1311133331113 _11>_1-31 1131/1111
+@ v. ~ _WM_A¢\J_€><Q&§M _” §§ 3_ 331/151 11133@311\;3

 

 
 

 

 

    

 

__ 31 1<)+ 1131/1131 111131@@1)+22731
~/) 3~`,`7<5: 1111/131 ij:£@ 1111 _511,\1_
1143 3111_/1/)1@13331141131@_3@1 _13<1)\1_13 15 _ _
1313 321in 111 1131 533 1151

 

 

13_ 4_@>;@©0©£5: 312311)3 3111 _

 

 

_~_:: 15£@@§*31 11/4.»0@&1@31_331 15 _

 

 

1114 1516131.§3€1@1\/; <11:63_/%4 3<3§16
::3»\€,\_[ 31€_?¢ __z‘:@Ml¢f C!z\<é /:;3£(`1:)£@31/ 1123&1_

 

 

j 1 (@1_)4 1151331_31119111@ 31£:::53 14_
311311 1113 13:>1@331 331 m~z-r+/\OQ%M@§_ 3

 

 

HH@MU;» 41 131 _3_@1_5_1§115_<111111_3131

3-\43”~€1\3&1 '(:e> 3315 1010\3353@/\3 133`;§¢_3<>5€ MH(-/ 163 /M<Pfsv%é‘%<@, QANA/bf~

 

 
 

 

 

1111 111/111 311/1111 .. 1111

 

@O`v\k£. +m CQAHj`/LUQ_ 153/1311 u_ 1

 

` /4+ 0111»111111/1:-_111111 _13111

   

1111@§‘7§

 

511£513-1_@131?€£1 1_1131§131331&3111&113‘115_ _____
/‘7/ 1131 man 1» 11 113»415113 "_311_

 

@Or_‘, 133/130 @QU€AL;> 133/\9_ 011333/\43‘1\)¢)£31 t`/\l' 113/135 n HSQ 1044 nitrij

 

333 /V)<;'>€£_>-b(am\/ +QA/‘AML /j/Ar 331113¢35+3)\36>~%1\}£1€1\113 ~t¥ylHJL-,

 

3333)£@.?_1 333'35€_@ M& (`\ 13303.43 d,@v H`o/U ML&SMM§Z-Q:i: i@£__

 

 

 

 

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 12 of 30

 

( mA'§'§ML>`€cHCQ§JQQ-§ QQMM®;_\R£\§C§§_V\§§:€\§ t§/U§§ Qd%\§§:\: “E§LL»

 

 

 

 

 

\§w§~?§ \/\§§\ §@QN §Q§§ §§ “§§L___u§_§e§§§§_ _ §Q§§;§ ____§§___

 

 

 

 

 

 

§§ §§ n

 

 

 

 

 

  

 

§§§ §§§§§:;§§ _Q§§§§§§§Q §§§§§§§ § §§ §§
QQ§§M§Q§§¢§§§§Q§ \»\)\§ § E§Q_QS§§ _»_ §§§L,_§
__ \§Q§§§M _§§§__ __ BQ§§)_§§§§§Q __§§§§‘__JQL%
__.-l§y§@___ §§§§ __ __ ~§§Q§;m§§§<§ C§ _SM§§)@§§~§

 

 

 

 

 

{\/§Q§§‘v. ' ' __ §§ _

 

0§€§\'§1 o&§ cs€\§ __ §

 

 

 

v §>@§§§§§ §§ § §§ §§§ §§§~§§§§

 

~\§§m_; §§ §§§§S§§§§ M§Q§§§§§§§§§§§ _Q§__§

‘ D§§§§c£§>§§x§§§§ §§ _§s§€§t§§§§§§§§§&§

 

§§§_§_
§§\<\§§§§§@§§§§ §§§§a@ §§-§Q§Am §§ §“§W=M§QW

 

 

-&Q> §§ C§\§E§§§§<§Q§S §§me §§<§§§@@§§_
§§<-§ §§§;§ Q.§(§§'k§¢§§§§§

 

@9\§\\§0\§§\!‘@§`\ §M SS§P,A-.Q \§ Qyp\e\€ §\\Y‘£~§:Ji ~t§/\QJ§(-\C'\YS Q£Q§k&:v¥~ ~t§/\§£

 

c,§m Q§QM§§ §Q@M+ § :§~§ L§+§§§ \@§Q.Z§§;Mwi§_ §2§§@§§

 

 

§§§, w,¢ §§Q§§§§§_§z§§§§ §§§§M§§QQ§§§§§§§§
§§§+ §§§§z©§§§@§§§ MM::§§§M t§§-N@¢§e.a

 

§ §§§§\ § §§ §§ §§§§_§ §§§§§ __ §§

 

H§\§.:§ §§ <’_M-\§’g§é§ w \/\§® \).§XSM ec\§ §\A& HQ§:§M\§‘§'

 

 

 

Q»"`D\GIBT>(A`);>®O\ <`@...%(`§Q §@§L§>C,‘.”"b§@§ ”d;\(/R:(A§M§fé§§

 

1

M§§§§Q§ a§v§§§.§§®§ L§§’,%D\;)_ §§ §§ §§ m§»/\§,§\§§§:i§;_@i

 

 

 

 

‘I‘=l€> \)\§§é§l§\> \1 CL§§st-e.§\,\c@\\é§v ‘H() \O?> P;§A &§S~[, §g…¢,)

Case 5:18-CV-03053-SAC Document 1 Filed 03/05/18 Page 13 of 30

 

a§§ A{\/\ 4149_43§ §(44' ?>GLC, d 13 444%€4€_044 354 444 §_Z;

 

\ 444:44444 444444444 444 444444444

 

 

\\X; \\\(&4~ 4433 \04 434 43 443 @M@Q_ 444 444@434\4

 

 

 

 

 

 

 

 

 

 

 

% §4441@44 g
__4%€ \J\ 3?&§:..4/1\,\&_,

 

 

U@%§QM%QQ_

 

 

W€M€ \@MQAMQ\UQ£@LC){LMM OM_AM&

 

" 44 4444444444 444

 

1444 044-33 43 444ka 44 4244 44444 443

 

 

4444\4$4,4 (<LM 344404@@%§,_£??0:4:§@43§3@24 \1;(::

 

 

` §§ 444444\ 4444_

 

 

/@Q/ 644 10444,,

 

 

 

4.44!44€4@4}];444§44§

 

.: 43€1)4/)}£4, 441\\43€,@ mem 03 opequ +]/l/FH- 1410 -3012¢)4@44

 

rs +442, 1444 04££2;\+

 

 

 

 

V) % 3 LQ§ X‘S)C\\ 44\4444444&NAQMM

 

 

444 444 04\4444+ @4434\44 44 4 94444(\343@\4 4@44\\

 

 

 

 

 

Case 5:18-Cv-03053-SAC Document 1 Filed 03/05/18 Page 14 of 30

   
   

>1 7 C R 1 1 2 2
AFFloAvlT FoR ApPLicArroN FoR wARRANT /L §
Z”/’U€rao `
sTATE oF KANsAs, couN'rY 0F wYANDoTTE ir»;.;»,§i:,..-,, 4” 9.- /2
DATE; June 1, 2017 case #: 2»170001 " ` "' l"°v§`f§§"`.

. . v ="'" d
f , Affiant, being first duly sworn on oath, says that he has reason to believe as
0 lows:

1. The following crime or crimes are being or have been committed:
22-4903 Violation of Offender Registration Act: Failure to Reglster as an offender
22-4903 ViOlatiOn Of Offende|' Registl’afion Act: Failure to Provide Current Address

22-4905 Violation of Offender Registration Act: Farlure w Pay Registration Fee

2. The person or persons alleged to have committed said crime:

Williams, Freddie Lu’Car|’s blm born 2-17-1977

aka: Williams, Freddie Lee; Williams, Freddie A.; Williams, Freddie L. A.;
Williams, Freddie Lu Carls; Williams, Freddy Lu-Charl’s; Williams, Freddy
LuCharles; Williams, Rona|d; and Wilson, Ronald

Unknown - Kansas City, KS area

3. This affidavit and app§c»a:tigxnmisghased_on_the,,fonowirlgflct_s`g_

J' *“"_`~\,_`\
/MZ, 1996, Freddie Lu’Carl’s Williams was convicted in Wyandotte?¥

 

   
 
 

County, Kansas District Court of the crime of Attempted Rape in case
95CR1531. As a result of that conviction, Mr. Williams is reguired to register for /
10years._® ky , ,; "`

 

On March 4, 2002, Mr. Williams was registered by the Kansas Department of
Corrections prior to his release. Mr. Williams provided the address of 7"‘ and
Nebraska in Kansas City, Kansas 66101 as his physical address.

On June 1, 2006, changes to the Kansas Offender Registration Act now
required Mr. Williams to register in person during his birth month and 6 months
after that and to pay a registration fee of $20.00- during each registration Mr.
Williams was now required to register during the months of February and August.

On July 1, 2007, changes to the Kansas Offender Registration Act now
required Mr. Williams to register in person during his birth month and every four
months after. Mr. Williams was now required to register during the months of
February, June, and October.

 

 

Case 5:18-cv-03053-SAC Document 1 Filed 03/05/18 Page 15 of 30

rla
\@ ~» s er
l digith CMMM 1 wise
f 1 1 @@ W b
@§/;)§Q di W remit “M*O agai,~»d@
On July 1, 2011, changes to the Kansas Offender Registration Act now SHM“Q;
required Mr. Williams to register in person during his birth month and every three
months after that. The July 1, 2011 law changes also require Mr. Williams to (1

~ register for the remainder of his life. Mr. Williams was now required to register

during the months of February, May, August, and November.
___~___ r»_»-__-~_/FM`_"“"\`_

 

 

///on/lvlarch 28, 2016, lvlr. williams registered with the wyandotte cou?ft§,"“
Kansas Sheriff’s Office. Mr. Williams provided the address of 1021 N. 7‘h St
#508 in Kansas City, Kansas 66101 as his physical addressl Mr. Williams did
not pay his $20.00 offender registration fee leaving him a balance due of $20.00.
s Mr. Williams signed a notice of failure to pay offender registration fee form that
\ was witnessed by Deputy Michae| Moorman.

On May 31, 2016, Mr. Williams registered with the Wyandotte County, Kansas t
sherier ornoe. lvlr. williams provided the address of 1021 N. 7‘h st #508 in
Kansas City, Kansas 66101»a_§»t_i_i§y‘pgllysical~addresss_`__w ss

“,,1.,*" _.-M~___..w..`_..¢_- "___...`~_ ,.,.. `_"___ ,` 3
~`s. -».`.1_._._.<._.,.,-‘-__ ,,,,,,

 
  
 
  

On August 19, 2016, Mr. Williams was incarcerated in the Wyandotte County,
Kansas Detention Center. ,On December 22, 2016, Mr. Williams was released
from the Wyandotte County, Kansas Detention Center. Mr. Williams did not

register with any Kansas law enforcement agency within 3 business days of~ `
release / moving to a new address
/;)n:ebruaw 28, 2017, Mr. Williams failed to register during the month of

February which is his required month to register. ///

 

 

 

_ on Maroh 3, 2017, l called lvlr. williams lvlom et (913) 375~8239 end left a
voicemail message l called l\/ir. Williams’ sister Hanna at (913) 265-1233 and
\/ Dleft a voicemail message.

 

On March 31, 2017, l attempted to make contact with Mr. Williams at his
registered address of 1021 N. 7‘h St #508 in Kansas City, Kansas 66101. l spoke
to staff member Cassandra Chambers who said that Mr. Williams’ Mom Caro|yn
Williams used to live there, but she had moved out of the building.

f

On April 4, 2017, l called Mr. Williams’ Mom at (913) 375~8239 and left a
voicemai| message | called Mr. Williams’ sister at (913) 265~1233 and spoke to
Hanna Washinglquw,h_o.sa_id_thatsheswould~telih/lewill' s to call me. m

On May 31, 2017, Mr. Williams failed to register during the month of May 1)>/\§\\
WhiCh lS his required month to register ``````` h¢)vf/// 9 b

On June 1, 2017, l searched the Federa| Bureau of Prisons, and the Kansas
and Missouri Department of Corrections, the Wyandotte and Johnson County,
Kansas, and the Jackson County, Missouri jails and did not locate Mr. Williams in
custody. l checked the United States Department of Justice National Sex

 
 
 

 

   
 
   

 

Case 5:18-cv-03053-SAC Document 1 Filed 03/05/18 Page 16 of 30

s\\ Offender Public Website which showed that Mr. Williams is not registered in any
/C>: MM that Mr. Williams currently has a M

 
  
 
  

County, Kansas Sheriff’s Office or submit his past due registration fees of $20.00
and he remains non-compliant.

\ f _s:»_: n ls ,.,,_.__m~--`-/WM._=

As of June 1, 2017, Mr. Williams has failed to register with the Wyandotte j

”M__,_,___~._.__"__m_<g¢¢w »"

Wherefore, theundersigned requests that a warrant be issued for the arrest of
said Freddie Lu’Car|’s Williams, as provided by law.

Affiant ,-"Z/"'" "
(Det. shaun §fikorer 1253)

 

Subscribed and sworn to before me on the above date.
My commission expires:

MlCHAEL D. SlMMONS
NOTARY PUBLiC
STATE CF KANSAS

 

 

 

 

ne me o\/lbi /zoz/l Notary D¢'/./"°‘Q'> /?JL

 

 

Case 5:18-cv-03053-SAC Document 1 Filed 03/05/18 Page 17 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

E§,<ir\ibl’i' _
z OD
3 3 vi
:§§ i\l\`i\ re ac ies/iit §§me §<`OQ\, De\ia,\\\i\\\jamzs
D>§ att mitigate Aa\\ \m Cetmtcmtt iiitiribmt\-
§ea mm>tsce\'tmrt mire:@éiet>esm marti/eci etteiisrm
§§§ <:ic)>ir\b \t\iictaii/\i€l~€t\i\\ £r\\\c\ édt\i_liiraei~‘t:&\ 'iQ.C/l/i time s
m § §Qatjice iam \)t§c/Qmiinmist Wm‘mt
§ at\iQ\x\&~§i\L aie<s/i§t(timmier\\ i\@.narizmr\/\er\\m irtBC`\
§§ t Q~¢§QL ‘JCQ G\iQPtiir\\ Axie<<m>i\do \l;\i\i:§m@'ia‘iil Ba')<i~
_v ge "Ec>r\j“t\\ct ilM \/\lj\ Cajf\@t\iaitw Qiic<€§\ \_:a:iitt{te t ~56
l i\t>ooitii\i/\im \r\liéi/\ civ\l& \iie\amest \/\i\i/o\tiz:ime
maritime term mi memoer
§ s\ ceramic res mri semme
. §

 

 

‘.:~ TW\MQJL i\\i\ii i\iari/t?\ acid att>QaGL eat <iaQisaaaeii\.a&ie

 

ltd wci era>

mei/tim P`) aid si itic\lariaez)lr ©t\\ii me aestmrre(i

 

 

 

 

 

 

 

7 § `r)m atiieCtQ\-*<Q\/ia\\a Mmi%\iceewaii item
air mast tied-stammth cettsej,aii>maritm
§§ ar-ta)ti€.\am\i§ Mstaam€e C_c>®\t ei»'é/\r) air>GQQQQzlrti

 

MQoQJ\/\ar€oi\i ama <\MMotc@s \/t@ <em$m me \/\in/l amici

 

air ab ama im ilava mr atmin w w was-rtmmw

times ms \m-rt/t tiger teest, ericemiirse mem miss

 

`%emaaw ammi et\ Oc@aim/ir:d ii am

 

m m

 

 

,_`

tjmii\tmimim 4cetatmt,t§qli_jtt_ltimi)emesimieis Qetmm!c,
cdc(iem\ items \r)ee\> ©lt'iam\ \em`j dc seamme mcie\tmsitt

 

 

 

 

aesmmdzrimiertt ie@i:iamvmesm rewech ii sf read

 

 

 

 

 

camper mr ud~/)_<»i;vtmc

mm sentence \t\i;rw\rl\i)zrtim card mcmithin macrae drs "mj

mac t_t ilavi ibm-tug l<i~lr?ub

timeer iactsrierrt<t/immr:tt/°\ectiice

 

\i\`rrwé car writisz

 

 

h

' iiQ ii ri W§zi'@¥a»\\i~% td<§iQdi

 

Case 5_:1-8 C-\/- -03053- SAC Document 1 Filed 03/05/18 Page

 

 

 

 

 

330

  

 

    

 

PRlNT NAME: ` " " "" 1" :' §>(1/\.1\01'1'
PoD: cELL: § ::» ,\-.
wvANnorrE couNTY oETENTloN cENTEn
lNMATE COMMUN|CATION FORM
`1=./<',/` , (\ ‘,
DATE: \‘~' 1 ' ‘ » TlME: 1 ii _; §,‘ . rt'i,
( ) APPEAL ( ) cLAslechTloN
( ) RElew ( ) olsclPLrNE
( ) cRrEvANcE ( ) anuEsT "-":-'§* s
»m/ \ /1~\\"'~`\` .. \‘ "' ,s/ l .~ ’ _ .
TO: esi»._"d \`i' \:Lt/ iv\ ) 11 f i‘\".‘ L ii J\‘ _‘1 1§ i\ f"' ii -\=s`; - t_ . ).‘it"
" t\ '(NAME OF AND/OR TlTLE OF DEPUTY)"\ m

SUBJECT: State completely but briefly the problem on which you desire assistance and exactly how you believe your
request can be handled.

     

 

 

 

 

 

 

 

 

s ss ,~ 1'\
\\ .»\_/ \“(\l \` \\\ /. § x
\_]\\,'\>\)ts\. \'_`">Li. \,\ r “" ` \1\~ '\_'m"' §
. / `1\ _
", ’\ f l
l<"\t:r.t\‘ 1 1
( _\i :/
\," s\ (
.s ff \`;
".\tf '\
j 'r,‘ s1 ,e\_ i`f_ r
1\ `\ `
m \ t [. \\‘»i‘. s\:
"1”@‘ '\r§`s\ \i (\/`\J 1 mix ';'" s
t
_. . \_ \\ ‘
' »-_ f \ `\ /
' ~te~_ l \` » \ / l
s\,.s t \.~si<@\/ \ s- r
l s
. `- 7\ 7 r",!' ,
r` ' 1 c~ r r"~ , 1 . ,\;/ »-.r;

 

 

\ . \/r .
\ m"~~sF/t't» `, r

\s

‘ m - rs‘ s_ ,_ \
_`.` l !=\sl" ii ‘; ‘\_r‘@\_;

lNMATE # '\ ‘ l v~'i`j '

"

 

 

 

 

 

 

 

/“’ - x 0 f _
D OSlTlON: /’§ ',1 rpi f”/l //‘*5` faa "`"o)~m‘-\ f ” ‘“ ;/’0~ DATE: /1" {` / 7
mem ma mens i: rs i… recess rr
f 390 '»”P"+ q ‘/(\'/f? ”€\ees._ ’7L -’§`r) ’;>//7/1) /7[" year see
’l, ij 4"? f '?(c€h oL }Mi &l p”,` § 69 /7[` ‘1/" r+ 17'”; (""` 7 f y g q /¢//~ !/ ,l/\ epa/d "‘O
/~ .¢.’ 7 (g .»7;1~~\~ '»? c"r/ fy ,, .£s l/[?.u;»~ 7[1§ /Ar? "(;mp rel 45 ¢'».Q © jj \

 

 

,/|
EXU\\QQR(LL£ DEPUTY's slcNATuRE AND RANK @ee (/; > ss
iiiaii\dc,cs

I.
57 ”'C` f'/"

WHITE: 'Fl|.£' - CANAFIY:"DEFUTV'

 

Case 5: 18- C-\/- -03053- SAC DocuHment 1 Filed 03/05/18 Page 19 of
PRlNT NAM§: " ' ' ...§\1 §§ §§ -1"1 1-1_)\»1~1}§§ 51 "’§1]\'3`.,:1%>(§ >
` PoD£" 11

    

wYANoo'n§ couNTY DETENTloN cENTEn

lNMATE COMMUN|CAT|ON FORM

 

 

 

oATE:§é:;§/¢1111 €".»1111\ 1511 ) ‘%<',\ TlME ` f:`;`i> 1 1111

, 1 _ -»~W__?---~
( ) APPEAL / 1 g 1 ) cLAsleloATloN

`\___,/ §
( ) nEvlF_w ( )v olsolPuNE
§ § /' ` if ll `- ;\\ \
( ) GnlEvANcE ('~1;) nEouEsT 1...1:;:.‘11\ 1 1111§',.1(!11\11~11 `)
1 2 \ . <’,/

To. /1"~'115_,;111:1-1@" '

 

(NAME OF AND/OR TITLE OF DEPUTY)

 

SUBJECT: State completely but briefly the problem on which you desire assistance and exactly how you believe your

    
 

     
 

 

    
   
  
 

 

request Ci ,
‘.\‘ §§:"/\Oe 1 .` ,{'\'{\/1 MC\.~/, z 1111 \(\' "` .\1§\`§ :.>?'<€ zi_\j©\() _{1);/ l/Q\j(/,,€`J¢M,)H;\£`
:‘;~_§1»111~111\; :_ 1 1 1. 1111 1 1 1111 \f\., 111 1 111,_»_ 11 § §// f§(,`£w \:2_
§§ /\…1\__> \-1£:‘)\§11§:,/7;\ ` s (§)!‘\§ EN.;,’QPEJ r\ {/»:’\(\`\)"\1"'1_',

 

 

 

\_/`

/<° § \
11 \/`\f`r§ 11 €‘» 1111 1_\11\71' - gm `1\\

 

 

 

 

 

 

q ` .“ \`) -./-.
<1, f~’\ ’1:§\.- ~~`1 1213 §1;§\\ 1§;.“§.1`> _-. 1111 §‘\\’\. U( 1 "§"\1[9»';'~~@ G:/\` §‘5}; 140131\11\. w1”\/ (Y‘Q§L.- "”
}'" \§`\ §`{ _ §
lNMATE's slGNATuRE.§§ 119 §§13\`~;1§1 1'/ \ /‘\ §}§_§‘11#\`~.)’\11 1:__1 1
,/ / 1 il ._____, :
olsPoslTloN: §§ 5811,»./\1111, 11@§75 ) 1,> `/¢'»1/1 0111 >/»01?_ _. DATE-

  

 

17€\,/\¢/19 '\'.f§:, `T\J</z, \:11111/€1/\1’¢¢<:>18 1881 1112 [111)“1;. §¢/>0\

§§((C 1/\.(?9:\’";', §`€Q- (»1€7 5'?[.¢,12'|`)§ . `u\z be 1\1¢>`|"§-\~§141¢,; M\ 1111\@1 xAL (61111{/
_ OE(W_

 

 

 

oEPuws sloNATuRE ANoRANK il ,_ 7411/13 19075/7

WH|TE:‘F|LE' - CANARV:"DEPU`N‘

 

Case 5:18-0\/- -03053- SAC D Cument 11 l:}g|eciLO /05/18 Page 20 of 30
l`~»f" §§\ ` l _ :)(:)7/\/ § a_ f
PRlNT NAME: > /§l»§u§ €’

\ ,\ n \~_ll `l .'
"l""v\ ;}‘\ §[~..-!"H‘\¥.._=_

PoD: §§ cELL: 53 112

WYANDOTTE COUNTY DETE§|T|ON CENTER

_~ wl
DATE. § ` ` li"" if`\" if

\ §

lNMATE COMMUN|CAT|ON FORM

,_ . . TlME§ `f.a.\ §._,\ _
( ) APPEAL _( ) 'cmssl§chTloN »».\
( ) nElew ( ). olsclPl_lNE

     

.~."

    
  

§ \ ." taint §§ §§'}\\\"Y\ `F"‘\lfl‘€())\ "`;"H'
( l GR|EVANCE (;l;) »REQu T ~ a """"`&»§

 

, l
l l
_, a '. l '/ <"l,.l\§)\,g`} __§
'¢.

{ l~
To §W§»'ll,a §§9\§_\\,§>§§‘ §\/\§`§lj§’§~§»;,i

(NAME C')F AND/oFl~\Tl'rLE ol§‘ DEPuTY> ‘

 

SUBJECT: State completely but briefly the problem on whi§:h you desire assistance and exactly how you believe your
request can be handled.

 

 

 

 

 
    

 

 

».§-9` ~/4.~ v ` \ 4 \ h la ‘r\ d ‘ \`
”““~§i§i' \" ra§;'.`§`~a\§‘"">"‘i"‘“~ `~§.~'F~' \u`\"§ § §~uf§r= ‘ \- l\` l:><.~\ §§ l§l~~: ~‘aa) §@ §§ ~§~a=;;> ll .,.;.l§§z.~.§; a:-‘a §§ cue-ia § la w
"i~ ,\ ". § §
°‘5'1; l i l \ h _ ~ \_§ \`_
a . .. a\./.a l ,» » _ \‘, a »~ '}. a.\ ,l .‘-
ran/aj z>~ <;',..~~: w l/‘\l’l`~~ua~~-\~=»_‘a l‘~§ §-€~»§'e.\\.§ §Qé' §".3~§\6°1_~3~ \“!/1§» l~`alé,§.»~` §'\§-‘..-l'\ .»l(.»a<.¢\§‘_` § '-.§l‘?u‘».a -§ la‘ l am
l ' ‘- \ l l a _ v
§-` :§§ C»<\§'Z`l§ ’l~'~ - .-a§§ l»,.>a\` ;,r»? éhu§:§ §§ § . am €§~.'\N¥§ l§l\'l .l'\~ §",a\"§'€>ml\\ ‘.;a-, ’-./.l'a;~.,"u§a'la;>.~~\, a¢\_\. \~\ aaa_§
§ \ _, x
§ § "a 110 § a»»~ l ,
\,l§¥`§§`r§'» +vl@~§§\ a calla:.‘- ‘ §§\§jl;.-'\M\»§"ml .> §.§~aa§ \`;» F‘ < /;\. »r\.§‘¢l \ af-\§‘»u. a_a ll/la.:= flaum c al<':.~§.;f‘-.§,§r§~ua.».:;
a ' `l \ l. ‘
ii §§ § 4_ l A _` \ ;§-\*_ `»: a x z l’_ 7 .
.,av';~a}» \l,§]‘§,§k§\$§§." r§€,-`§‘Q’la/ /" €`l""\'@ f <’.) “L'll\/\f`:*o?‘: \JF § \ \lk\., kr(/ § \"\-/" ~a.j~.'\l"a§"._\."§‘§l"'- \;£\\,~`i 'I“‘t§j;. ‘,'\~__`.'.`Mi' "'_\ ;'4."}_'-:/
l \ ` ‘ l [,\‘ l ‘. a
h _ » ‘ \\ a , \ '\`\»,`a ..a '~»‘
ll \ €{`/§-a§§' ~§.§§§\-'-‘ ¢5§<,\§§§1~..: m€€ _. n f‘ ““‘f]£ “~* §l§ ‘§:_-/§Q.` U~§t,\ \ ;l‘§§»§~~l<a:~§?.
. . - ~~» \
l { ‘\
§ ~ `\ J ”
az§%":§r~..`*.»_-\l`~ ‘ .: °Su'<"?’-> §\a'? ‘ (L c

I.\~§z.m §a»au=.. \.l\.§l-\§:;C;§..§Q~¢~-l+aa:lv e§l§aa<'-§ \ `§)a‘~ha,l* '"'
~§..l\\§a a;a?l§l§q »a - ('5§,

 

§.~; a¢l"§‘€. \:-~:-aa:;\..`\¢.~'=`§<,§

 

 

 

    

 

 

~»- ,!\ _ , , ,\ _ . ` » ', ,\,… '
~ ge ila § "'~\)[ a \;".,~ i'\")\:]§ ':{§\[7(_ » L- ‘\3»~_;0‘::» l?,..\:»"§.':"§‘€~»i"?\\£¢ (\\l`" '.\;'\"\§""§L‘L» F:.:;(`F l\')§.\>\(§}
. \ \ ' a
\ ' /a § .._' ry a ` §
aa§\la. § aalla,ll §aa §§ \'§\u§a>‘? §§l§§ u::§`-§-J ;§.~.§”§‘£f§a, lal~.§ ,, \/~» -¢, \au§»a» > 'l L§Q`.u @a~a.la~.§
ol§§a J\"l`ljv 1\' `+§"?. \J§.§f >.»,a.»r'" ““a§§§\a~ ‘§‘§'u"\ ` l.. ll ~a
lNMATEs `slGNATuR`E: “fl;a ll a § \`\ '\ . \§ §.\§ l~ wm lNMATE# §Sa‘/§ § §'a`iu'>"
\ L-:“l;,¥~).‘ .~ )\ ,>z;_ '>‘B.r§<"¥.\g\.`i.£.`.:> 4 _~ 1 §
msp loN: M€a \li\`\\\§§M§

 

    
 

)\_§ZMK. 'C>O.lJC€£/J§ §§AUF 'P)F?’;//\l DATE: 2
*€\l\€wé® . T§§e l§lQ//,v.,a'aou `T'l_l§’T/b§@u Ha§<)£ Pu:.alal é\la/>¢l\! 16 l§€r'a§./ZA??P

\§u \/zlal §l-l.a)<z ll,\@.'fl§'-¢§L Dl/Q(b_l“€ ulfl’lll»» 'lTlé ll d@a¢\°?;lv
3 a/.;»p”TF§CT l‘\/§/l.w¢€l€§\§ (\§ol/u€/l/ O/C» Tl'~l»c“

 

 

_§:€Q {\.l,l\lz` lQEC-O/'€@;.
you u.>l\\ l.é’>‘_%l) l

1{350§41' .¢J("l ‘A)C/_§§LQ

1/

 

/) / /
>» / 1
oEl>uTYs slcNATunE ANn RANK La YL ’/,Q C

'QM- ®7?
l

l

§

l

3 anE:-FlLE' - cANARYs-n;purv
§

l

 

Cas§ 5: ]\8 C\/- -03053- SAC Docum?ul 1 Fi_led 03/05/18 Page 21 of 30

4 __,1: "»_ \_!' (-.:“‘; \._ "»~;§{'_ ' `\_,
PRINTNAME- 454 m . v u;>(,v‘] \~/»>i. ,~ 1 . 1 1114 ®
/1 L_ {
PoD: 411 cELL: …_\, \ §§

WYANDOTTE COUNTY DETENT|ON CENTER

lNMATE COMMUN|CAT|ON FCRM

 

 
     

 

 

DATE: 1353 /i\ //`1:1‘£:3\.,44.< TlME: “’2 `r 4,2:§1 112
( ) APPEAL ( ) cLAssiFicATioN
( ) nElew ( ) olsc\PuNE 4
_ 1 `.- "”"\,"`v\\ :\_ , \ \ §§
( ) GRlEvANcE (‘-,1\») nEouEsT 4:\\1\2¢:\11\1\1241;<11: \\»1-’.1:;1:.1/4'\,
x 2
To: Q‘\<:j_ii‘ 1§<114\3;\ '

 

(NAME OF AND/OR TlTLE OF DEPUTV)

SUBJECT: State completely but briefly the problem on which you desire assistance and exactly how you believe your

 

 

 

 

 

 

request can be handled
2 (:‘2'9$\ \11£)<1 41 '.,~1\~\`~1 ‘\ \C°>J': /:’ W§‘§i \1\ :>\;"\`LS\U 2 '§\" 202 C‘\1-32`=

\\ \ :\% [\] A i k ;\\::'\\
\‘i \\‘\r: 3\£ ¢i\*`\i'*¥§\§`i &;2;'§\ i- h 31/\{ gm `\/i\\ (." ’3;114\`L(L !\l\"*i£i"" \>‘='~ "`\ /`“2[` w "`~\~“< 4_"1

[/ l
124/2 4 ‘\>23§?3\2/\40 . §>,)x `\‘12:3: \/\234\ w xi4 . 222-cu 42“\<;» 2_ x)‘-¢. xxi\l.\_"© .1-\.`{..121(\1
1 \ 1 411 c 1

( f\\iLT §"4:" \.x 32\.@`;> /"_c ’\ 242 '_‘»_\ <X `\1"'\2 . z \\\\,\211>2.322 §\:!("; ` 25

 

 

"2" , /;‘;: ` '\." ll \ /`\’ /` " """' K`"@’~' `;" (’\\`\ "”“" 3142 \
`v>L:iY)‘--E`i‘=\l \A \\“\‘{4“§.\1 '\ \1\).1;>4: )\22 iii .. 2\ M\ é”/ O/"/'/" <:;( "~»\`\` 1 4 ~:"x".,<:\\

\\ ¥`\ :

‘.\' , .
\'" =` ' , -
` _4_\,.,. ,\ ,»\ `» l w n c`_/
4\\:> \.' <,‘ ,1;»2/\12.-~'"‘;11 421 324 465 1211 \‘12 141 x 43 51 \\"O¥ »)`~»//`_. die/4 \§\\1;;\11-"1\‘./’%! "
` ,

 

 
  

-~`._ .;

-*~_.`A g /

 

 

lNMATE`S SlGNATURE:

olsPosmoN DATE g 2§[ /Z§’

z\ \xe me w~x Y<\\\n\@xgc\\ \\\3\> x xxi \\Q\ W\ 41~ <:‘c_.<\xi;x
<\F\ 2\<__\ \c»f" xmc\4 views Q:\_` m C‘<\\;§X;

 

 

 

 

 

   
     

w\\ `Y`\xx> Q;\<fwce \\`Qxx Q;\\i`ii': \“<\ ®<\. i,i;®, 444
\":11<:,,\¢’\\7 1 `\) \@\Q%\Q:<\ §§ C\§,\`P» >h©<:\ @<<:§<§ AQ*§< :2"§\2
<`\ Q\\\§\\\\€\Qx\ \\C>xx© cwa \\\ amsst ’)‘@"12“\` we 443 i®i§g 1

DEPuTY's slGNATunE AND RANK C\ \;\\\\\Q\ QY°QC`C§YQ§ <z§§:({ §

\

 

WHITE:'F\LE‘ - CANARV:"DEPUTY'

 

Case 5:18-Cv-03053-SAC Document 1 Filed 03/05/18 Page 22 of 30

 

m ¢/"/
L`.
/ m ,
20/;¢¢,£ "
»/ / liH//.
iN THE DisTRiCT CouRT oF wYANDoTTE COUNTY Wm“,;.;r:.;-: t » \, ' 0/
“‘ " "C t o .
gY ty,/ Lh/"A,,;"/)
THE STATE OF KANSAS, ) F‘;‘;i,.
) ` """V
Plaintifl`, )
l 4
VS. ) CASE NO. ZOlXCROOl
l
) l
FREDDlE WlLLIAMS ) l

Det`endant. )

MO'I`ION T() MODIFY BOND

Comes now, Counsel and moves the Court to modify bond in this case ln support ofthe

motion, Counsel asserts the tollowing,:

l. Defendant was previously given an OR bond. The State did not object

2, Defendant entered into plea negotiations Whicli required him to obtain drug treatment

3. Defendant set up zin§ppointment with ASAP.

 

 

/,/

4. Prior to his appointment Del`endant had a seizure and was hospitalized at K.U, Medical

Center. Defendant also had seven blot clots. '
7 `<\
' 5. Det`endant missed his Couit date due to his medical issues.

we _M,.,,.,,_ ~`g M\N*y/

  
  
  

,/~

 

 

Thei'et`ore. Det"endant requests the Coui“t modify his hond.

 

Case 5:18-Cv-03053-SAC Document 1 Filed 03/05/18 Page 23 of 30

Respectt`ully,

David H. M§tthews

Kansas Supreme Court No, 168()2
601 Minnesota

Kansas City, KS 66|01
816-665~4307

Attomey

 

CERTIFICATE OF SERV|CE

l certify that Counsel`s entry ol`appearance was had delivered to the Wyandotte County
District /\ttorney`s Ot`i`ice: attention /\ssistant District Attorney Kayla Roeler on July lO, 2()|7.

an tall

Attome).i

 

 

Case 5:18-cv-03053-SAC Document 1 Filed 03/05/18 Page 24 of 30

Date: 10/“| 9/2017 Wyandotte County District Court
Time: 11:19 Al\/| ROA Report a film
Page 5 of 7 Case: 2016-CR-000601 Current Judge: J Dexter Burdette E:>{ Q

Defendant: V\h||iams, Freddie
State of Kansas vs. Freddie V\hlliams

 

Felony
Date Judge
1/19/2017 Prosecutor of Record Kayla L Roeh|er J Dexter Burdette
1/23/2017 Motion J Dexter Burdette

Document title: IV|OTlON FOR ABUSE OF DISCRETION AND ABUSE OF
R|GHTS pro se
Document |D: 3020250

1/30/2017 Email Sent Date: 01/30/2017 02:15 pm To: dmatthews|aw@gmai|.com J Dexter Burdette
Fi|e Attached:
l\/|OT|ONFORABUSEOFDlSCRET|ONANDABUSEOFR|GHTS. pdf Name
of Document: l\/lOT|ON FOR ABUSE OF DlSCRETlON AND ABUSE OF

R| TS~ mms
».1_, \\ `(`\\
@; Hearing result for Preliminary held on 03/02/2017 09: 00 Al\/|: Defendant \\ennifer L Myers
“’/ Fails to Appear for preliminary hearing; Bench Warrant and Bond Forfeiture
Ordered Bond reinstated $5, 000 n .#, »/ f ”' 7

BenclYWarranflssued Bond amount 00 Failiire to Appear for Jennifer L l\/|yers
preliminary hearing Defendant: W||iamsl Freddie

Document title: BENCH WARRANT ORDER lSSUED SHER|FF

Document |D: 3047889

5/31/2017 Disposed due to Fai|ure to Appear (21.5706.a Possession of opiate, opium, J Dexter Burdette
narcotic or certain stimulant)

Disposed due to Fai|ure to Appear (21.5709.b.2 Use/possess W/intent to J Dexter Burdette
use drug paraphernalia into human body)

 

.1 .,_,_A,.».

 

 

      

Case Status Change: disposed J Dexter Burdette

6/1/20/1(7__=\ Case Status Change pending/reopened 7 74 … J Dexter Burdette

( 6/28/2017/ Bench Warrant Returned Sheriff """" ` J Dexter Burdette
\~-~//‘ Document title: BENCH WARRANT RETURN SHER|FF -- |ssued 3/2/17

Document |D: 3149180

Defendant in custody Bench Warrant Bond Forfeiture set aside and
recalled, Continued 7/1 1/17 Bond already set at $5,000

Bench Warrant Quashed Fai|ure to Appear for preliminary hearing /, Jennifer L |\/|yers

` Jennifer L |V|yers

 

 

Defendant: Williams Freddie /HW mv F ///
\\~Hearin”gg_$clie'dUied (DocketCal'l"O"7/11/2017 09: 00 A|Vl) Renee S Henry
7/10/2017 l\/lotion J Dexter Burdette

Document title: l\/lOTlON TO |\/lOD|FY BOND (DAV|D H MATTHEWS)
Document |D: 3157873

7/1 1/2017 Hearing result for Docket Ca|| held on 07/11/2017 09:00 AM: Preliminary Renee S Henry
hearing 8/17/17 at 10:30am in div.13

7/‘|2/2017 Hearing Scheduled (Preliminary 08/17/2017 10:30 Al\/|) No Judge Assigned

7/19/2017 Request J Dexter Burdette

Document title: |Nl\/lATE REQUEST W|TH VARIOUS
CORRESPONDENCE: ROA, Warrant and Affidavit sent
Document |D: 3166480

7/21/2017 |\/|otion J Dexter Burdette
Document title: l\/|OT|ON TO W|THDRAW (David l\/latthews)
Document |D: 3169426

 

Case 5:18-cv-03053-SAC Document 1 Filed 03/05/18 Page 25 of 30

Date: 10/19/2017 Wyandotte County District Court
Time: 11:19 A|V| ROA Report
Page 6 of 7 Case: 2016-CR-000601 Current Judge: J Dexter Burdette

Defendant: Williams, Freddie
State of Kansas vs. Freddie Williams

Felony
Date Judge

 

7/25/2017 Hearing result for |Vlotion held on 07/25/2017 09:00 AIVl: Defendant in Courtney H |\/|ikesic
custody With attorney David Matthews. State by Kayla Roeh|er. On l\/|otion
for attorney to Withdraw. l\/|atthews has legal and ethical dispute With
defendant State no objection Court allows to attorney to Withdraw. Court
instructs defendant that last appointment Attorney and defendant needs to
Work With attorney appointment Court does not take up bond reduction
Case set 8/17/17 at 10:30am in div.13 for preliminary hearing Court will try
to appoint defendant attorney by then.

7/27/2017 Praecipe: 2 Subpoena issues to DA 2 Subpoena Returned from DA (OFF J J Dexter Burdette
A SE|BEL SRG S C DAVlS SERVED HAND DEL|VERY)
Document title: SUBPOENA
Document lD: 3174252

7/31/2017 Order appointing private counsel J Dexter Burdette
Document title: ORDER APPO|NT|NG COUNSEL (RAYl\/|OND PROBST)
Document lD: 3175823

8/4/2017 ROA AND ALL l\/IOT|ONS TO DEFENDANT PER JA|L REQUEST J Dexter Burdette
8/8/2017 ATTORNEY |NFOR|\/lAT|ON TO DEFENDANT PER JA|L REQUEST J Dexter Burdette
8/16/2017 DlS: Discovery J Dexter Burdette

Document title: DlSCOVERY RECElPT (RAY|\/|OND E PROBST JR)
Document lD: 3191396

8/17/20'|7 Hearing result for Pre|iminary held on 08/17/2017 10230 Al\/|: Continued by Jennifer L lV|yers
defendant because Raymond Probst Was just appointed and needs
discovery. Defendant's motion for bond reduction denied. Pre|iminary
hearing 9/2’|/17 at 10:303m in div.13.

Hearing Scheduled (Preliminary 09/21/2017 10:30 Al\/|) No Judge Assigned
8/21/2017 ROA, AFFIDAV|T, |NFOR|\/lAT|ON AND WARRANT TO DEFENDANT J Dexter Burdette
PER JA|L REQUEST.
8/22/2017 Praecipe: 2 Subpoena issues to DA 2 Subpoena Returned from DA (OFF J J Dexter Burdette

A SE|BEL SRG S C DAV|S SERVED HAND DEL|VERY)
Document title: SUBPOENA
Document |D: 3196944

9/6/2017 ROA and motion to supress to defendant periai| request J Dexter Burdette

 

Case 5:18-cv-03053-SAC Document 1 Filed 03/05/18 Page 26 of 30

Date: 10/19/2017 Wyandotte County District Court
Time: 11:19 Al\/l ROA Report
Page 7 of 7 Case: 2016-CR-000601 Current Judge: J Dexter Burdette

Defendant Williams, Freddie

State of Kansas vs. Freddie V\h|liams

Date

9/21/2017

Felony

r_,./"_M_`" »- M~.._‘

Hearing result ferPreliminary held on 09/21/2017 101 30 Al\/|: On recor f

preliminary h/earing. State by Kay|a Roeh|er Defendant in custody by

Ra mond Probst The court finds that based on the testimony today in
ding the evidence most favorable to the state. The court finds that a

/ crime has been committed as charged and there is probable cause to

believe defendant is guilty thereof Defendant is bound over for trial.
Defendant requested formal arraignment defendant Was formally arraigned
on counts 1 & 2 and defendant pleads not guilty Pretrial conference

10/13/17 at 9am in div. 9. Defendant make oral motion to suppress as illegal

search and seizure. Defendant argues illegal terry stop that police has no
reason for search. State argues officer testified that officer saw pipe
sticking out of defendant pocket, also officer did weapons check for safety
as called for weapons disputes. Court denies defendant motion to

Defendant also on record stated wanted to proceed with attorney Raymond

\\suppress. Court finds the search Was legal and conducted properly

9/22/2017
10/13/2017

l?;§)b§t Defendant attorney made motion for OR Bond and Bond reduction
State Obje@;€r\ggu;idpnip< bond reduction Bond remains,set $5, 000 cash

or surety.

Plea Entered (NG 21.5706.a Possession of opiate, opium, narcotic or
certain stimulant)

Plea Entered (NG 21.5709.b.2 Use/possess W/intent to use drug
paraphernalia into human body)

Hearing Schedu|ed (Pretria| Conference 10/13/2017 09:00 AI\/|)
Record Taken ~- l\/lonica Zarate, CSR. Pretria| conference

Hearing result for Pretria| Conference held on 10/13/2017 09:00 A|V|: Jury
Trial set for 2/12/'|8 at 9:00 AM With a motion hearing set for 12/13/17 at
10:00 Al\/l.

Hearing Scheduled (|V|otion 12/13/2017 'lO:OO A|V|)
Hearing Scheduled (Jury Trial 02/12/2018 09:00 Al\/|)

Judge

  
  
 

Courtney H l\/likesic

td\i\l: t
_ we \`.iQ
KM§;:;§QL \,<3\?\

:L\Y\jQQ,J i:il\o, loud
\ w

{\/\9._/ <;> \l€/@-> "
et aid

\

\

l

/

Courtney H l\/|ikesic
Courtney H l\/|ikesic

J Dexter Burdette
J Dexter Burdette
J Dexter Burdette

J Dexter Burdette
J Dexter Burdette

 

Case 5:18-cv-03053-SAC Document 1 Filed 03/05/18 Page 27 of 30

Date: 2/6/2018 Wyandotte County District Court
Time; 07:52 Al\/l ROA Report x
Page 1 of 2 Case: 2017-CR-OO1122 Current Judge: J Dexter Burdette

 

Defendant Williams, Freddie
State of Kansas vs. Freddie Williams

l\\©)§ "§)\N ' Felony

Date l// 5

.,,'--'~

 

41 .M...___¢.-»~~

l ~~~~~~~~~~~~~~~~~~~~ 7 ,,,,,,,,,,,,,,,,,,,,,, \1_`~\ Judyg,e#é_,,m__`

,,-/

_ 7‘ _ //“‘ / ' ”" \\ . 4
10/2@017 § Arrest Warrant issued to Sheriff Bond amount 20000.00 Defendant /:7</(/)0urtney H l\/likesic F>-
Williams, Freddie 7 ~~~~~~~~~~~ re M“

 

|nformation Courtney H I\/likesic
Document title: |NFORl\/|AT|ON
Document |D: 3252314

Affidavit Courtney H |\/likesic
7 Documenttit|e;,AflflDAVlT FOR APPL|CAT|ON FOR WARRANT /
Document |D: 32523'1"5""'\'~~~\,171,,,., /

, r:\ ,r,,____._~_-`.
f ~~< ,._,_ \
/

\.,t___k `"““\N,_.,,u._.b._._<_’__':_“.:.{"" x
(D/ocumentse`a`ted\g
%0/25/2017 Arrest Warrant Served/Returned Defendant Willia"m`sjt:'t‘"e`ddi”“"/ \ Jennifer L l\/lyers

 

Document title: WARRANT \
Document |D: 3253416 \
\\ Bond set at at s20,000.00 /" Jennifer L Myers
`\"\\__\___` Hearing result for First App§§[§U_QQ,/D§,|.Q.QD"19_/25[20.117709;007A|\/l:.m~F-irs't'/ Jennifer L l\/lyers
"`"""~“\Appearanc,e,Heid»"/* " "
va-M
Hearing Scheduled (Docket Call 10/31/2017 09100 AN|) Jennifer L l\/|yers
Prosecutor of Record Christopher Lee Schneider J Dexter Burdette

10/31/2017 Hearing result for Docket Call held on 10/31/2017 09:00 Al\/|: Raymond J Dexter Burdette
Probst Appointed to represent defendant Next court date 11/7/17 $100
bids fee ordered

11/2/2017 Hearing Schedu|ed (Docket Call 11/07/2017 09:00 Al\/|) Renee S Henry

Order appointing private counsel J Dexter Burdette
Document title: ORDER APPOlNT|NG COUNSEL (RAYl\/|OND PROBST)
Document lD: 3260774

11/3/2017 Case number, ROA, and affidavit to defendant per jail request J Dexter Burdette
11/7/2017 Hearing result for Docket Call held on 11/07/2017 09:00 Al\/l: Continued by Renee S Henry
defendant 11/28/17
Hearing Schedu|ed (Docket Call 11/28/2017 09:00 A|\/l) Jennifer L l\/|yers
11/8/2017 Document J Dexter Burdette

Document title: FlNANC|AL AFF|DAV|T
Document lD: 3265993

11/20/2017 ROA to defendant perjai| request J Dexter Burdette

11/28/2017 Hearing result for Docket Call held on 11/28/2017 09:00 Al\/l: Continued by Courtney H lVlikesic
defendant 12/19/17

Hearing Schedu|ed (Docket Call 12/19/2017 09:00 Al\/l) Renee S Henry
12/13/2017 Record Taken ~- l\/lonica Zarate, CSR. l\/lotion. J Dexter Burdette
Probst‘s motion to Withdraw heard and granted Defendant cautioned J Dexter Burdette

regarding behavior and pro se motions. NeW attorney is Charles Lamb,
case set for status conference on 1/12/18 at 9:4Sarn.

12/14/2017 Order J Dexter Burdette
Document title: ORDER APPO|NT|NG COUNSEL (Charles Lamb)
Document lD: 3294945

12/15/2017 ~ Hearing Schedu|ed (Status Conference 01/12/2018 09:45 AI\/|) J Dexter Burdette (OVER)

 

Case 5:18-cv-03053-SAC Documentl Filed 03/05/18

Date: 2/6/2018 Wyandotte County District Court
Time: 07:52 Al\/| ROA Report
Page 2 of2 Case: 2017-CR-001122 Current Judge: J Dexter Burdette

Defendant: Williams, Freddie
State of Kansas vs. Freddie Williams

Page 28 of 30

 

Felony
Date Judge
12/15/2017 Hearing result for Docket Call set for 12/19/2017 09:00 Al\/|; _ Hearing ` J Dexter Burdette
Cancelled
1/2/2018 ROA to defendant perjai| request J Dexter Burdette
1/12/2018 Copy of ROA to defendant per jail request J Dexter Burdette
Hearing Schedu|ed (Status Conference 01/18/2018 10:15 Al\/l) J Dexter Burdette
1/18/2018 Record Tal<en -- |Vlonica Zarate, CSR. l\/|otion. J Dexter Burdette
Hearing result for Status Conference held on 01/12/2018 09:45 Al\/l: J Dexter Burdette
Continued to 1/18/2018
Hearing result for Status Conference held on 01/16/2018 10:15 A|\/l: J Dexter Burdette
Defendant continued case to 5/14/18 at 9:00 Al\/| with other case
2016CR601.
Hearing Scheduled (Status Conference 05/14/2018 09;00 Al\/|) J Dexter Burdette
2/1/2018 Request J Dexter Burdette

Document title: lNl\/iATE REQUEST: |CF forwarded to attorney via email
Document lD: 3333108

 

Case 5:18-cv-03053-SAC Document 1 Filed 03/05/18 Page 29 of 30

1de d@tl>tsttd<_+~@m/Lt:s 3d 163315@3

ll M$M graze/033 MM//[;)Q

/iO`UO/\/ /0 /<Df§/M/$S Mti gp MCQ 7 7- 77;7!_1_7
74)7@ %3233301’010 Fli\/ Misce,\lciu/gjt May 4 iii

l)e ct til/us tima
tds exam 133 113

edna Mndi<\ij ddj/wite¢\itr 11 1

33 t1 m

     

70 1031 divided 7 pei 7701#7
1 dicde §Lt:£/%°o/\J s ‘
Aprai 3333/1 deii 3333 aide
is hci/1331st ieéiesto 03 steLe 1

jim 731/30 dis/dow A31 /\lof~ 30

115 set/13d 3 fmsd\! 7®?/\/319> ,1<111 3313[£3ss Ci desielQA)U

m 1:;;%@>/0?14 520 3,1@@& %zpi§t£/H)fotlet/QZ/
5000

ii 65331 03 33333.\1 dye side ram/el
d::w »<)ddéeg;m de

{ who 15+3/3 g dbt£i#éfo/\i 170
tim 333 jail/113

hot/ii `tz:ff:Z/Z W/Z€j@ 7 /\fe> Us@i¢/+\H“ wr<t$f@%e, 7

0/\1 /W/ U% rf€£f/\lpr

    

 
 

 

 

ESMERALDA W|LS<";;.‘;‘ ‘:.

 

wime 1

 

comm 32

`u‘=wrv€ 02 WQ<S

Case 5:18-CV-03053-SAC Document 1 Filed 03/05_/18 Page 30 of 30

 

 

 

       

:123;"_/~ .
§§"71/ 32113 333 1211 \113/13<)1\1 3 33 33131\133\112
335 M~i WC~&A@:C/¢tl@::d\f<é
E§MN mm `7' _`W\H”€ 1535
§§ ‘:mdta Od@d 2121-3 0232331113313@ 0 23311313/31-12 §
12 153 3@!3;:::2 121 033333 Wd@ #
§§CLM//f\o_ %:@Qf f`r\) 71:¢7;£11£)/7 aZfC/€Af\/
§§/\13~1- %idAi\!¢M/@MW° ih€f\j€ 3333/307£3§% WH€YW
§§)41\/23¢___3/3/36332131@391&3 158 MQi/€>f Ma&

§§ 1323 332 1/1313:O;::%;aif 196/533
§§ 31 1511de amf 331 13d

12 1 /Q/\/ @!\1

§§ §Zz)t/LM/ FZ@‘€M?LU\) Mcmw p/ZQM@/\f

§§ 322 dt3 1333 ‘.\1 313 2211222 2332/di
fm:_ fm (10/\1€;£(,1§/ 3M 1

§§ 167/13 md f23233t13”3\5 131 f/Lj 331

§§ n

§§ /)32,3_/3:13{330 Mj<déwd@i

§§ 1303dj 3123/321

§§ § §§ ~" §§

 

 

 

 

